0004-73-EPIEXX-00409569-148775
                     Case 11-12096-JDW   Doc 63 Filed 07/13/16 Entered 07/13/16 13:14:47                                       Desc
                                 UNITED STATES  BANKRUPTCY
                                                    Page 1 of 3     COURT
                                                    NORTHERN DISTRICT OF MISSISSIPPI
                                                          ABERDEEN DIVISION

In re: RANDALL J CONDREY                                                                                Case No.: 11-12096-JDW

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Locke D. Barkley, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 05/09/2011.
2) The plan was confirmed on 08/19/2011.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on 05/07/2014.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was completed on 04/05/2016.
6) Number of months from filing or conversion to last payment: 59.
7) Number of months case was pending: 61.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 84,770.71.
10) Amount of unsecured claims discharged without full payment: 29,053.99.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
        Total paid by or on behalf of the debtor:            $8,323.00
        Less amount refunded to debtor:                        $132.81
 NET RECEIPTS:                                                                   $8,190.19

 Expenses of Administration:
        Attorney's Fees Paid Through The Plan:                                 $2,600.00
        Court Costs:                                                                 $.00
        Trustee Expenses and Compensation:                                       $396.99
        Other:                                                                       $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                $2,996.99

 Attorney fees paid and disclosed by debtor:                 $200.00




 Scheduled Creditors:
Creditor                                                      Claim             Claim            Claim           Principal           Interest
Name                                         Class            Scheduled         Asserted         Allowed         Paid                Paid
ADT SECURITY SERVICES                        Unsecured              92.11              NA              NA               .00                 .00
ADVANCE AMERICA                              Unsecured             370.85          370.85          370.85            33.38                  .00
AMERIGAS                                     Unsecured             543.79              NA              NA               .00                 .00
AT&T SERVICES INC                            Unsecured                   NA        223.28          223.28            20.10                  .00
CASH NOW-N-PAY LATER                         Unsecured             151.95              NA              NA               .00                 .00
CBE GROUP, INC                               Unsecured             320.59              NA              NA               .00                 .00
CHECK ADVANCE                                Unsecured             370.85              NA              NA               .00                 .00
CROSSROADS ANIMAL HOSPITAL                   Unsecured             130.75              NA              NA               .00                 .00
CUNA MUTUAL GROUP                            Unsecured              95.88              NA              NA               .00                 .00
DELL FINANCIAL SERVICES                      Unsecured             733.00          905.04          905.04            81.45                  .00
ENHANCED RECOVERY CORPORATION Secured                                    NA            NA              NA               .00                 .00
EXPRESS CHECK ADVANCE                        Unsecured             396.00              NA              NA               .00                 .00
EZ CASH                                      Unsecured             396.34              NA              NA               .00                 .00
FIRST HERITAGE CREDIT                        Secured             1,500.00        1,142.95          225.00           225.00               32.79
FIRST HERITAGE CREDIT                        Unsecured           1,275.00          917.95          917.95               .00                 .00

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                                           NORTHERN DISTRICT OF MISSISSIPPI
                                                 ABERDEEN DIVISION

In re: RANDALL J CONDREY                                                            Case No.: 11-12096-JDW

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                             Claim         Claim      Claim        Principal           Interest
Name                                    Class        Scheduled     Asserted   Allowed      Paid                Paid
FIRST NATIONAL BANK                     Unsecured            .01   1,251.22   1,251.22            .00                 .00
FRANCES N MCGONAGILLE                   Secured              NA         NA         NA             .00                 .00
HARRIS, SHELTON, HANOVER, & WALSHUnsecured               858.00         NA         NA             .00                 .00
KIMBERLY CLARK CREDIT UNION             Secured        15,790.00        NA         NA             .00                 .00
KIMBERLY CLARK CREDIT UNION             Unsecured       1,823.12   1,762.12   1,762.12        158.59                  .00
LAFAYETTE COUNTY CHANCERY COURTSecured                       NA         NA         NA             .00                 .00
LAFAYETTE COUNTY TAX COLLECTOR Priority                      NA      284.53    284.53             .00                 .00
MAYO EYE CLINIC                         Unsecured         90.00         NA         NA             .00                 .00
ONEMAIN FINANCIAL                       Secured         3,289.29   3,289.29   3,289.29     3,289.29              472.53
REPUBLIC FINANCE LLC - OXFORD           Unsecured      11,361.83        NA         NA             .00                 .00
REPUBLIC FINANCE LLC - SOUTHAVEN Unsecured              6,727.31   6,727.31   6,727.31        605.46                  .00
SWISS COLONY                            Unsecured        180.44         NA         NA             .00                 .00
TANNEHILL & CARMEAN PLLC                Secured              NA         NA         NA             .00                 .00
TOWER LOAN OF OXFORD                    Unsecured       1,331.87   1,331.87   1,331.87        119.87                  .00
WELLS FARGO FINANCIAL BANK              Unsecured         30.04         NA         NA             .00                 .00
WILLIAM ROGERS ATTORNEY                 Secured              NA         NA         NA             .00                 .00
WILLIAM ROGERS ATTORNEY                 Secured              NA         NA         NA             .00                 .00




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In re: RANDALL J CONDREY                                                                                Case No.: 11-12096-JDW

                 Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                      Claim               Claim           Claim         Principal           Interest
Name                                       Class              Scheduled           Asserted        Allowed       Paid                Paid
WILLIAM ROGERS ATTORNEY                    Unsecured             1,669.37         1,719.37       1,719.37          154.74                  .00

 Summary of Disbursements to Creditors:                                                           Claim         Principal           Interest
                                                                                                  Allowed       Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                .00             .00                .00
     Mortgage Arrearage:                                                                              .00             .00                .00
     Debt Secured by Vehicle:                                                                    3,289.29        3,289.29             472.53
     All Other Secured:                                                                            225.00          225.00              32.79
 TOTAL SECURED:                                                                                  3,514.29        3,514.29             505.32

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                      .00              .00                 .00
     Domestic Support Ongoing:                                                                        .00              .00                 .00
     All Other Priority:                                                                           284.53              .00                 .00
 TOTAL PRIORITY:                                                                                   284.53              .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                    15,209.01        1,173.59                  .00

 Disbursements:
        Expenses of Administration:                                                             $2,996.99
        Disbursements to Creditors:                                                             $5,193.20
 TOTAL DISBURSEMENTS:                                                                                                             $8,190.19

    12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
    foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
    The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                   Date:     06/30/2016                                     By:   /s/Locke D. Barkley
                                                                                  Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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